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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

BRANDON J. JAMES,                                                                     PLAINTIFF
ADC #171937

v.                                   4:20-cv-0894-KGB-JTK

WENDY KELLEY, et al.                                                                DEFENDANTS

                                              ORDER

       The Court has reviewed the proposed findings and recommendations submitted by United

States Magistrate Judge Jerome T. Kearney (Dkt. No. 9). Plaintiff Brandon J. James has not filed

any objections, and the time to file objections has passed.             Accordingly, after careful

consideration, the Court concludes that the proposed findings and recommendations should be,

and hereby are, approved and adopted in their entirety as this Court’s findings in all respects (Id.).

The Court dismisses without prejudice Mr. James’s complaint for failure to state a claim upon

which relief may be granted.     Dismissal of this action constitutes a “strike” within the meaning

of the Prison Litigation Reform Act, 28 U.S.C. § 1915(g). The Court certifies that an in forma

pauperis appeal from this Order dismissing this action would not be taken in good faith, pursuant

to 28 U.S.C. § 1915(a)(3).

       It is so ordered this the 21st day of October, 2020.



                                                              _____________________________
                                                              Kristine G. Baker
                                                              United States District Judge
